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                                 IN THE UNITED STATES DISTRICT COURT
10
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
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14     RALPH COLEMAN, et al.,                                   2:90-cv-00520 LKK JFM PC
15                                   Plaintiffs, DECLARATION OF JESSICA S. KIM IN
                                                 SUPPORT OF DEFENDANTS’
16               v.                              POSITION REGARDING PLAINTIFFS’
                                                 ALLEGED DISCOVERY DISPUTE
17                                               REGARDING THEIR REQUEST FOR
       EDMUND G. BROWN, JR., et al.,             THE RECORDS OF 83 INMATE-
18                                               PATIENTS
                                  Defendants.
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21           I, Jessica S. Kim, declare as follows:

22           1. I am a Deputy Attorney General with the California Office of the Attorney General,

23     attorneys of record for Defendants in this case, and I am licensed to practice in this Court. I have

24     personal knowledge of the facts stated in this declaration and if called on to testify to those facts,

25     could and would do so competently. I submit this declaration in support of Defendants’ Position

26     Regarding Plaintiffs’ Alleged Discovery Dispute Regarding Their Request for the Records of 83

27     Inmate-Patients.

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             Decl. Jessica S. Kim Supp. Defs.’ Position Re: Records of 83 Inmate-Patients (2:90-cv-00520 LKK JFM PC)
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 1           2. Plaintiffs served a request for production of documents to Defendants on August 6,
 2     2013. Attached as Exhibit A is a true and correct copy of Defendants’ objections to the request
 3     for production that Defendants, which were served on September 5, 2013.
 4           3. Plaintiffs’ Counsel Aaron Fischer sent an informal letter to CDCR Attorney Nicholas
 5     Weber on August 2, 2013. This letter requested the records of 83 individuals. The Attorney
 6     General’s Office received a copy of this letter. A true and correct copy of Mr. Fischer’s August
 7     2, 2013 letter to Nicholas Weber is attached as Exhibit B.
 8           4. After meeting and conferring with Plaintiffs, Defendants agreed to produce the records
 9     of 77 of the 83 individuals identified by Plaintiffs. I explained to Plaintiffs’ counsel that the other
10     six individuals were not Coleman class members because they are paroled, discharged, part of a
11     county’s Post-Release Supervision Program, or were in custody under Section 7301 of the
12     Welfare & Institutions Code. True and correct copies of the meet-and-confer correspondence
13     between counsel for the parties are attached as Exhibit C.
14           5. Attached as Exhibit D is a true and correct copy of an email dated July 22, 2013, from
15     the Attorney General’s Office to Plaintiffs’ counsel attaching documents reviewed by Mr. Martin.
16           6. Attached as Exhibit E is a true and correct copy of the excerpts from the Reporter’s
17     Transcript of Proceedings of the Status Conference held on May 23, 2013.
18           I declare under penalty of perjury under the laws of the State of California and the United
19     States of America that the foregoing is true and correct. Executed in Sacramento, California on
20     September 6, 2013.
21
                                                                  /s/ Jessica S. Kim
22                                                                Jessica S. Kim
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             Decl. Jessica S. Kim Supp. Defs.’ Position Re: Records of 83 Inmate-Patients (2:90-cv-00520 LKK JFM PC)
